                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION
                                Civil Action No.: 5:18-cv-00484-BO

                                                 )
EPIC GAMES, INC.,                                )
                                                 )
                 Plaintiff,                      )
                                                 )
V.                                               )        PLAINTIFF’S RESPONSE TO
                                                 )      DEFENDANT LUCAS’ MOTION TO
BRANDON LUCAS and COLTON                         )         DISMISS THE COMPLAINT
CONTER,                                          )
                                                 )
                                                 )
                 LUCAS.                          )
                                                 )

       The Court should deny the Motion to Dismiss the Complaint filed by Brandon Lucas

(“Lucas” or “Defendant”) in the above-captioned action because it fails in both form and

substance. Lucas’ Motion is empty: it identifies no procedural basis or substantive support for

why it should be granted. It does not state its grounds at all, let alone state them with the

particularity required under Federal Rule of Civil Procedure 7(b)(1)(B). Lucas’ Motion was not

filed with an accompanying supporting memorandum as required by Local Civil Rule 7.1(b)(1).

Instead, it was accompanied by a one-page, unsworn affidavit that is inadmissible for its only

possible purpose, and contradicted by statements Lucas himself made in the DMCA counter

notification which gave rise to this lawsuit, and which is attached as an exhibit to, and part of,

the complaint.

       Accordingly, Plaintiff Epic Games, Inc. (“Epic” or “Plaintiff”) submits this

Memorandum of Law along with the Affidavit of Christopher M. Thomas in support of its

opposition to this motion, and respectfully requests that the Court deny Lucas’ Motion to

Dismiss and require him to answer the Complaint.



PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 1 of 21
I.      STATEMENT OF PERTINENT FACTS

        A.       Background on Epic and Fortnite

        Founded in 1991, Epic is a Cary, North Carolina-based developer and publisher of video

games and video game engine and content creation software. (D.E. 2 at ¶¶ 15, 18.) Epic first

released its co-op survival and building action game, Fortnite® 1, on a limited basis in October

2013. (Id. at ¶ 19.) Fortnite was released more widely on July 25, 2017, and its free-to-play

“Fortnite Battle Royale” was released on September 17, 2017. (Id. at ¶¶ 20-21.) Fortnite’s

popularity has grown steadily ever since and, with over 200 million users worldwide, has

become Epic’s most popular game yet. (Id.) In designing Fortnite, Epic made a conscious choice

not to sell items that would give any player a competitive advantage in the game to ensure a fair

playing field for all players. (Id. at ¶ 25.)

        Epic is the author and owner of all rights, title, and interest in the copyrights in Fortnite,

including, without limitation, the copyrights in Fortnite’s underlying computer software and the

audio visual works created by the software. (Id. at ¶ 29.) Epic’s copyrights in various versions of

Fortnite’s computer code are the subjects of U.S. Copyright Registration Nos. TXu01-895-864

(dated December 18, 2013), TX008-186-254 (dated July 14, 2015), TX008-254-659 (dated

March 3, 2016), and TX008-352-178 (dated December 23, 2016) and U.S. Copyright Reg. No.

TX0008-507-210 (dated March 21, 2018). (Id. at ¶ 30, id. at Exh. A, [D.E. 2-4 ].)

        B.       Epic’s Terms of Service and End-User Licensing Agreement

        To use Epic’s services, such as playing Fortnite on PC—which is the platform Lucas uses

to play (and cheat at) Fortnite—a user must create an account with Epic. (Id. at ¶ 31.) In so

doing, the user affirmatively acknowledges that he or she has “read and agree[d] to the Terms of


1
  Fortnite is a registered trademark of Epic and is shown with the federal registration symbol the
first time the trademark appears herein and without it thereafter.
                                                 2
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 2 of 21
Service” (“Terms”). (Id., at Exh. B, [D.E. 2-5].) Because Lucas has been using Epic’s services,

he necessarily agreed to abide by the Terms. (Id. at ¶¶ 31-35.) Further, Lucas has been banned

from using Epic’s services several times for cheating. (Id. at ¶¶ 9, 103.) Therefore, Lucas has

created several user accounts and, each time, affirmatively acknowledged acceptance of the

Terms. (See id. at ¶ 31.)

        The Terms include an “Intellectually Property Rights” section which sets forth the

permissions users have with respect to Epic’s intellectual property and activities that are

prohibited. (Id. at ¶¶ 31-46.) The prohibited activities include a prohibition against “copy[ing],

modify[ing], creat[ing] derivative works of, publicly display[ing], publicly perform[ing,],

republish[ing], or transmit[ting] any of the material obtained through [Epic’s s]ervices” and

“reproduce[ing], sell[ing], or exploit[ing] for any commercial purposes any part of [Epic’s

s]ervices, access to [Epic’s s]ervices or use of [Epic’s s]ervices or any services or materials

available through [Epic’s s]ervices.” (Id. at ¶ 42.) The Terms also include a prohibition against

using Epic’s services for unlawful purposes. (Id. at ¶ 43.) Further, the Terms include a forum

selection clause identifying federal courts in this District as the location for a lawsuit related to

Fortnite. (Id. at ¶ 37.)

        In order to play Fortnite on PC, a user must also acknowledge that he or she has read and

agreed to abide by the terms in the Fortnite End-User License Agreement for PC (the “EULA”).

(Id. at ¶¶ 47-59, id. at Exh. C, [D.E. 2-6].) Thus, because Lucas played Fortnite, he necessarily

agreed to abide by the EULA. (Id. at ¶¶ 56-59.) Like the Terms, the EULA includes a section

setting out prohibited activities. These prohibited activities include using Fortnite commercially

or for a promotional purpose; copying, reproducing, distributing, displaying, or using Fortnite in

a way that is not expressly authorized; selling, renting, leasing, licensing, distributing, or

otherwise transferring Fortnite; reverse engineering, deriving source code from, modifying,

                                                 3
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 3 of 21
adapting, translating, decompiling, or disassembling Fortnite, or making derivative works based

on Fortnite; creating, developing, distributing, or using any unauthorized software programs to

gain an advantage in any online or other game modes, and behaving in a manner which is

detrimental to the enjoyment of Fortnite by other users as intended by Epic. (Id. at ¶ 54.) The

EULA also prohibits the transfer, sale, gift, exchange, trade, lease, sublicense, or renting of,

among other things, in-game content. (Id. at ¶ 55.) Further, like the Terms, the EULA includes a

forum selection clause identifying federal courts in this District as the proper forum for a lawsuit

related to Fortnite. (Id. at ¶¶ 50-51.)

        C.       Lucas’ Infringing Activities

        Lucas used cheat software, which he calls “hacks,” while playing Fortnite to unlawfully

modify Fortnite’s software so that he has an unfair competitive advantage over other players. (Id.

at ¶¶ 60-69.) The cheat software works by injecting unauthorized code into Fortnite’s

copyrighted code, modifying and altering the copyrighted code, and creating an unauthorized

derivative work of Epic’s copyrighted Fortnite game, which infringes Epic’s copyrights in the

game. (Id. at ¶¶ 4, 99, 119.)

        In addition to cheating and creating unauthorized derivative works of Epic’s Fortnite

code, Lucas demonstrated, advertised, distributed, and promoted Fortnite hacks to the public on

YouTube, including on the YouTube channel he operates under the handle “Golden Modz.”

Between August 11 and September 18, 2018, Lucas used the Golden Modz channel to post nine

videos of himself and others cheating while playing Fortnite. (Id. at ¶ 87, id. at Exh. K, [D.E. 2-

14] (attaching screen prints of the infringing videos.) The video posted on September 18, 2018

showed both Lucas and Colton Conter, the other defendant named in the Complaint, using hacks

to gain an unfair advantage over the 99 other players who were participating in the game. (Id.)

        On or around September 18, 2018, Epic submitted Digital Millennium Copyright Act

                                                 4
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 4 of 21
(“DMCA”) takedown notices asking YouTube to remove Lucas’ videos. (Id. at ¶ 92.) YouTube

complied with Epic’s request. (Id.)

         On September 22, 2018, Lucas posted a video on his YouTube channel called “I am

getting sued by fortnite…” (Id. at ¶ 94.) In this video, Lucas admitted that he posted videos of

game play during which “hacks” were used to cheat at Fortnite. (Id.) In the description of this

video, Lucas included links to his Instagram and Twitter accounts, and a link to his “backup”

YouTube channel, which had no available content. On information and belief, Lucas intends to

use this back-up channel if the Golden Modz Channel is disabled or removed. (Id.)

         On September 26, 2018, Lucas submitted a counter-notification in response to Epic’s

DMCA takedown notices, claiming that the infringing videos “are my own creation” and that

“All I am doing is uploading my own funny youtube videos”:




(Id. at ¶ 93; id. at Exh. L, [D.E. 2-15] at p.2) (emphasis added.)

         At all times relevant to the Complaint, Lucas sold the hacks advertised in the YouTube

videos    on     two   websites:   [<goldengodz.com>]     (the   “Golden   Godz   Website”)   and

[<gtagods.com/shop>] (the “GTA Gods Website”). (D.E. 2 at ¶ 76, id. at Exh. D & Exh. E, [D.E.

2-7 & 2-8].) Lucas also operated a third website, [<www.goldenmodz.com>] (the “Golden Modz

Website”), which linked to the Golden Godz Website. (Id. at ¶ 77.) These websites are

collectively referred to hereinafter as the “Cheat Websites.” The manner in which the Cheat

Websites operate is explained in detail in the Complaint. (Id. at ¶¶ 105-114.) At a high level, at

all times relevant to the Complaint, the Golden Godz and GTA Gods Websites were being used

                                                  5
PPAB 4572541v6
           Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 5 of 21
to broker the purchase and sale of Fortnite accounts, and as a platform for the sale of “aimbots,”

a specific type of cheat software that enable those who use them to automatically target and kill

enemies without having to aim their weapons. (Id. at ¶¶ 65 105-110.) At all times relevant to the

Complaint, the Golden Modz Website redirected visitors to the Golden Godz Website. (Id. at ¶¶

105-110.)

       Lucas uses social media to raise his profile as a Fortnite “troll,” to disseminate his videos,

to promote his YouTube channel, and to help sell more hacks. (Id. at ¶¶ 95-98, Exhs. M-P, [D.E.

2-16, 2-17, 2-18].) At all times relevant to the Complaint, Lucas used his Twitter, Instagram, and

Google+ accounts to promote his YouTube channel and the videos posted there. (Id.) Lucas even

hosted a “giveaway,” in which he Tweeted an image of an unlicensed, unauthorized “spiderman

modded skin” and encouraged his Twitter followers to like and retweet in an effort to further

disseminate his infringing content and sell more hacks. (Id. at ¶ 96.)

       D.        Epic’s Service of the Complaint and Lucas’ Post-Filing Activity

       On October 10, 2018, Epic filed this action. (D.E. 2 at ¶ 1.) On October 11, 2018, Epic

sent the Civil Summons, Complaint, and related papers to Lucas for service at the Counter-

Notification Address. (See Epic’s Affidavit of Service [D.E. 9] at Exh. A, [D.E. 9-1].) Lucas was

served on Monday, October 22, 2018. (Id. at ¶ 3, Exh. A, [D.E. 9-1].)

       On November 13, 2018, the Court entered the “Motion to Dismiss the Complaint” that

Lucas mailed to the Court. [D.E. 13.] Lucas’ Motion does not state any grounds at all, let alone

state grounds with the particularity required under Fed. R. Civ. P. 7(b)(1)(B). Moreover, the

motion was not filed with an accompanying supporting memorandum, as required by Local Civil

Rule 7.1. Instead, Lucas submitted a one-page, unsworn affidavit, in which Lucas appears to take

the position that the case should be dismissed against him because “another entity, unrelated to

[him]” is responsible for the unlawful acts identified in the complaint. (See Affidavit of Brandon

                                                 6
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 6 of 21
Lucas [D.E. 13-1] ("Lucas Aff.") ¶¶ 1-10, at 7.) Based on the foregoing, and because Lucas did

not identify any of the other defenses available under Rule 12(b)(1)-(6), Epic’s first response to

Lucas’ Motion is under Rule 12(b)(7)—failure to join a party under Rule 19.

II.    LAW AND ARGUMENT

       A.        Fed. R. Civ. P. 12(b)(7) Standard

       “A motion to dismiss for non-joinder is a drastic remedy. Courts of this circuit and,

indeed, the federal courts in general, are reluctant to grant such a motion unless prejudice or

inefficiency will certainly result absent dismissal.” Cellectis SA v. Precision Biosciences, Inc.,

No. 5:08-CV-119-H, 2009 WL 6319263, at *4 (E.D.N.C. Dec. 8, 2009)             (citing        Owens-

Illinois, Inc. v. Meade, 186 F.3d 435, 441 (4th Cir.1999)). “In general, dismissal is warranted

only when the defect is serious and cannot be cured.” 5C Charles Alan Wright & Arthur R.

Miller, Federal Practice & Procedure § 1359 (3d ed. 2016).

       When presented with a motion to dismiss under Fed. R. Civ. P. 12(b)(7), “the court

initially must determine if it should join the absent person as a party under Fed. R. Civ. P. 19(a).”

Pettiford v. City of Greensboro, 556 F. Supp. 2d 512, 517 (M.D.N.C. 2008). The moving party

bears the burden of proof to “demonstrate that the absent person must be joined to facilitate a just

adjudication.” (Id.) “To sufficiently assert a 12(b)(7) motion, the movant must identify the name

of the party, the location of the party, the reason the party is necessary and whether the court

has jurisdiction over the party.” Meta v. Target Corp., 74 F. Supp. 3d 858, 866 (N.D. Ohio

2015) (internal citations and quotations omitted) (emphasis added). A “Rule 12(b)(7) motion will

not be granted because of a vague possibility that persons who are not parties may have an

interest in the action. In general, dismissal is warranted only when the defect is serious and

cannot be cured.” Cooper v. Kliebert, No. 15-751-SDD-RLB, 2016 WL 3892445, at *6 (M.D.

La. July 18, 2016).

                                                 7
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 7 of 21
       B.        Lucas Has Not Met His Burden Under Fed. R. Civ. P. 12(b)(7)

                 1.    Lucas’ Fed. R. Civ. P. 12(b)(7) Motion Should Be Denied Because It Does
                       Not Meet the Requisite (or Prerequisite) Standards

       Lucas’ Motion should be denied. Lucas has not “sufficiently asserted” a basis for

dismissal under Rule 12(b)(7) because he has not even provided the prerequisite information

identifying a party that he alleges is required or indispensable. See Cooper, 2016 WL 3892445,

at *6 (denying defendants’ motion to dismiss and holding that “[o]n the most fundamental level,

defendants have failed to identify ‘who’ the indispensable party is.”). Lucas’ Motion also fails to

provide a name or any sort of identifying information for the alleged missing party. Thus, it fails

to meet the most fundamental requirements of motion practice in federal court, see, e.g., Fed. R.

Civ. P. 7(b)(1)(B) and Local Civil Rule 7.1, supra, and makes it impossible for Epic to

substantively respond to the motion because there is no substantive information to which to

respond.

       Lucas’ Motion should also be denied because, in addition to failing to provide the name

of the party or its location, he has also not provided any basis under which the Court may

exercise jurisdiction over this undisclosed party, or any reason it is necessary that such party be

added. Am. Gen. Life & Acc. Ins. Co. v. Wood, 429 F.3d 83, 92 (4th Cir. 2005) (affirming a

district court’s denial of a motion to dismiss because movant had “failed to proffer any

explanation as to why he could not obtain complete relief against [the nonmovant] without the

presence” of a particular party); Meta, 74 F. Supp. 3d at 866 (denying a defendant’s motion to

dismiss under Fed. R. Civ. P. 12(b)(7) because, although the movant had identified the party he

alleged should be joined, it did “not explain the reason why [the party was] necessary, whether

the Court [had] jurisdiction over [the party], the nature of [the party’s] unprotected interests and




                                                 8
PPAB 4572541v6
           Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 8 of 21
the possibility that [the party] will suffer injury, and whether the parties before the Court [would]

be disadvantaged by [the party’s] absence”) (internal citations and quotations omitted).

       Because Lucas has not met any of these threshold requirements, it is impossible to

address the traditional two-step analysis as to whether joinder is required. 2 Lucas’ Motion should

be denied.

                 2.    Lucas’ Affidavit Baldly Alleges Facts Inconsistent With Epic’s Allegations
                       and Corroborating Evidence

       Lucas’ Motion should also be rejected because the statements in Lucas’ unsworn affidavit

are conclusory, unsupported by evidence, and undermined by Lucas’ own prior statements,

which are incorporated into the Complaint. For instance, Lucas’ affidavit states that “[t]he videos

posted on You Tube are not mine.” (D.E. 13-1 at ¶ 1.) This statement is directly contradicted

Lucas’ earlier statements in his DMCA counter-notification that “[t]hese videos are my own

creation” and “All I am doing is uploading my own funny youtube videos.” (D.E. 2, Exh. L,

[D.E. 2-15]) (emphasis added.) Similarly, Lucas’ statement that “I, Brandon Lucas, individually

does [sic] not own the YouTube channel where the alleged advertisements and information were

posted. (D.E. 13-1 at ¶ 2), is impossible to square with the claims in his counter-notification that

the videos are his “own creation[s]”, and that the channel is his. (See D.E. 2-15 at p.2) (“…if the

videos are not placed back on my channel, I will fill [sic] discriminated against”).


2
  To determine whether a party should be joined, Fed. R. Civ. P. 19 first requires examination of
whether “the party is ‘necessary’ to the action under [Fed. R. Civ. P.] 19(a).” Am. Gen. Life &
Acc. Ins. Co. v. Wood, 429 F.3d 83, 92 (4th Cir. 2005). Fed. R. Civ. P. 19(a)(1)(A) requires
joinder when a court cannot provide the existing party complete relief, and Fed. R. Civ. P.
19(a)(1)(B) requires joinder where an absent person’s interest would be “impair[ed] or
impede[d]” or where the existing party would be “subject to a substantial risk of incurring
double, multiple, or otherwise inconsistent obligations because of the [absent person’s] interest.”
Fed. R. Civ. P. 19(a)(1)(B). If a court concludes that joinder is required, but not feasible, the
court must then determine whether dismissal is appropriate because the absent person is
“indispensable” under Fed. R. Civ. P. 19(b). Pettiford v. City of Greensboro, 556 F. Supp. 2d
512, 517 (M.D.N.C. 2008).
                                                 9
PPAB 4572541v6
          Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 9 of 21
       Finally, Lucas’ conclusory statement that “[c]learly, the Plaintiff has named the wrong

Defendant in this litigation” (Lucas Aff. at ¶ 10,) depends on his false premise that Epic's claims

depend on Lucas owning the YouTube channel, the videos posted there, and/or the websites

where the cheats are sold, (id. at ¶¶ 1-7.) None of these things is required for Epic to state a

plausible claim. (See Sec. II.D.1-5, below.) Epic’s First Claim for Relief, copyright infringement,

alleges that Lucas violated Epic’s exclusive rights to reproduce its copyrighted work in copies,

prepare derivative works based on its copyrighted software, perform the work publicly, and

display the work publicly. (See D.E. 2 at ¶¶ 115-132). Neither that claim, nor any of Epic’s

claims require ownership of anything other than the copyrights themselves—something Epic has

alleged (and Lucas does not dispute). In short, nothing in Lucas’ Motion or his affidavit provides

a basis for granting his motion to dismiss based on the existence of some unidentified party.

       Because a Fed. R. Civ. P. 12(b)(7) motion “will not be granted because of a vague

possibility that persons who are not parties may have an interest in the action,” and Lucas has

failed to raise any argument suggesting that there is even a “vague possibility” that other parties

are to be added, Lucas’ Motion should be dismissed. See 5C Charles Alan Wright & Arthur R.

Miller, Federal Practice & Procedure § 1359 (3d ed. 2016).

       C.        Fed. R. Civ. P. 12(b)(6) and Fed. R. Civ. P. 8

       Although neither Lucas’ Motion nor his affidavit assert that Epic failed to state a claim

upon which relief can be granted, in an abundance of caution, Epic will respond as if it did in

case the Court construes the motion as asserting a Rule 12(b)(6) defense.

       “A motion to dismiss under Rule 12(b)(6) tests the legal and factual sufficiency of the

complaint.” Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-D, 2017 WL 514237, at *4

(E.D.N.C. Feb. 6, 2017), motion to certify appeal denied, No. 7:16-CV-18-D, 2017 WL 9440363

(E.D.N.C. May 24, 2017), appeal dismissed, No. 17-1291, 2017 WL 3973936 (4th Cir. June 7,

                                                10
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 10 of 21
2017) (internal citations and quotations omitted). When ruling on such a motion “[t]he court

accepts all well-pled facts as true and construes these facts in the light most favorable to the

plaintiff in weighing the legal sufficiency of the complaint.” (Id.) (internal citations and

quotations omitted). The standard does not require “a court to accept as true a complaint’s legal

conclusions, elements of a cause of action, and bare assertions devoid of further factual

enhancement.” (Id.) (internal citations and quotations omitted).

       To overcome a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the complaint must meet

the “simplified pleading standard” of Fed. R. Civ. P. 8(a), which requires a “short and plain

statement of the claim showing that the pleader is entitled to relief,” which has been interpreted

to mean that a plaintiff must plead “enough facts to state a claim to relief that is plausible on its

face.” Patrick Collins, Inc. v. Does 1-22, No. 11-CV-01772-AW, 2011 WL 5439005, at *2 (D.

Md. Nov. 8, 2011) (internal citations and quotations omitted.) Furthermore, in its analysis of “a

motion to dismiss, the court looks to the complaint and materials attached to or incorporated into

the complaint.” Eshelman, No. 7:16-CV-18-D, 2017 WL 514237, at *4 (internal citations and

quotations omitted).

       D.        Lucas’ Motion Should be Denied Because All of Epic’s Claims State a Claim
                 Upon Which Relief Can Be Granted and Otherwise Meet the Pleading
                 Standards of Rule 8

       Lucas’ Motion does not allege that Epic failed to state a claim upon which relief can be

granted. (See D.E. 13.) Similarly, Lucas’ affidavit, if considered, does not assert that any of the

claims fail as a matter of law, or even that that there was no unlawful conduct. Instead, Lucas

asserts only that someone other than Lucas engaged in unlawful conduct. Of course, that is not

the standard under Rule 12(b)(6). As set forth below, all five of Epic’s claims have been properly

plead in accordance with all applicable rules, including Fed. R. Civ. P. 8, and state claims upon

which relief can be granted. Cf. Epic Games v. C.R., No. 5:17-CV-534-H, (E.D.N.C. July 12,

                                                 11
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 11 of 21
2018) (denying letter construed as motion to dismiss where defendant had not shown that the

complaint failed to allege sufficient facts to state a claim for relief that is plausible and finding

plaintiff’s claims, which are similar to those asserted here, plausible on their face.) 3 Thus, Lucas’

Motion should be denied.

                 1.      Epic’s Claim for Copyright Infringement States a Claim for Relief.

          The essential elements of a claim for direct copyright infringement under the Copyright

Act are:

                 (1) the asserted work is an original work of authorship and
                 copyrightable subject matter;
                 (2) the plaintiff owns or has exclusive rights to all right, title, and
                 interest in the work;
                 (3) the Lucas’s actions infringe plaintiff’s copyrights in the
                 asserted work by copying, reproducing, preparing derivative works
                 from, and/or displaying the asserted work publicly without
                 plaintiff’s permission;
                 (4) the Lucas’s copies, reproductions, derivative works, and
                 displays are identical and/or substantially similar to plaintiff’s.

See Nelson-Salabes, Inc. v. Morningside Dev., LLC, 284 F.3d 505, 513 (4th Cir. 2002).

          Epic alleged that it owns the copyrights in Fortnite’s computer code and provided the

supporting copyright registrations. (D.E. 2 at ¶¶ 29-30, 116-117; id. at Exh. A [D.E. 2-4].); see

Nelson-Salabes, Inc., 284 F.3d at 513 (proof of plaintiff’s copyright registration certificates are

sufficient to meet the first two elements of the test). Epic has also alleged that Lucas prepared

derivative works of Fortnite without Epic’s authorization, publicly displayed and/or publicly

performed these works, and unlawfully distributed the derivative works for financial gain. (D.E.

2 at ¶¶ 100, 118-121, 125.) Further, Epic has alleged that the unauthorized derivative works are

“substantially similar” to Epic’s copyrighted Fortnite game. (Id.)




3
    Pursuant to Local Civil Rule 7.2(c), a copy of this order is attached hereto as Exhibit A.
                                                   12
PPAB 4572541v6
           Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 12 of 21
       Epic has also alleged that Lucas has had access to Fortnite and that he has used Epic’s

services, including Fortnite. (D.E. 2 at ¶¶ 4, 71.) Accordingly, since the facts are to be construed

in the light most favorable to Epic in an analysis under Fed. R. Civ. P. 12(b)(6) and the

complaint provides facts supporting each and every element such that Epic’s allegation that

Lucas infringed Epic’s copyrights is, at minimum, plausible, Lucas’ Motion should be denied.

See Malibu Media, LLC v. Doe, No. CV TDC-15-3185, 2016 WL 4773127, at *1–2 (D. Md.

Sept. 13, 2016 (denying a motion to dismiss a copyright infringement claim because plaintiff’s

Complaint “states a plausible claim for relief on its face.”); Patrick Collins, Inc. v. Does 1-22,

No. 11-CV-01772-AW, 2011 WL 5439005, at *2 (D. Md. Nov. 8, 2011) (internal citations and

quotations omitted).

                 2.       Epic’s Claim for Contributory Copyright Infringement States a Claim for
                          Relief.

       The essential elements of a claim for contributory copyright infringement are that the

Lucas (1) has knowledge of a third party’s infringing activity; and (2) induces, causes, or

materially contributes to the infringing conduct. See Thomson v. HMC Grp., No.

CV1303273DMGVBKX, 2014 WL 12589313, at *5 (C.D. Cal. July 25, 2014). Epic’s Complaint

establishes the first element since it alleges that Lucas had actual knowledge that other cheaters

were engaging in the same directly infringing activity as he by virtue of, without limitation, his

involvement with the Cheat Websites. (D.E. 1 at ¶¶ 137-138.) Epic satisfied the second element

by alleging that Lucas published the infringing videos demonstrating use of and promoting the

cheat software and sold the cheat software on the Cheat Websites. (D.E. 2 at ¶¶ 133-136, 139-

141.) The Complaint also alleges that Lucas' activities directly infringed Epic’s Copyrights. (See,

supra, Section II.D.1.)




                                                  13
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 13 of 21
       Accordingly, since the facts are to be construed in the light most favorable to Epic and

the Complaint provides facts supporting the plausibility of each and every element of Epic’s

contributory copyright infringement claim, Lucas’ Motion should be denied. See BottleHood,

Inc. v. Bottle Mill, No. 11-CV-2910-MMA MDD, 2012 WL 1416272, at *4 (S.D. Cal. Apr. 23,

2012) (denying a motion to dismiss a contributory copyright infringement claim because plaintiff

adequately plead the claim); Patrick Collins, Inc. v. Does 1-22, No. 11-CV-01772-AW, 2011

WL 5439005, at *2 (D. Md. Nov. 8, 2011) (internal citations and quotations omitted).

                 3.   Epic’s Claim for Breach of Contract States a Claim for Relief.

       Epic’s Complaint alleges both elements of a breach of contract claim: (1) the existence of

a valid contract; and (2) subsequent breach of the contract’s terms. See Supplee v. Miller-Motte

Bus. Coll., Inc., 239 N.C. App. 208, 216, 768 S.E.2d 582, 590 (2015). Epic alleged that the

Terms and EULA are valid, enforceable contracts between Epic and Lucas and that Lucas agreed

to be bound to the Terms and the EULA by affirmative agreement, creating an account with

Epic, and repeatedly using, downloading, playing and/or accessing Fortnite. (D.E. 2 at ¶¶ 150-

157.) Epic has also alleged the second element because, as the Complaint states, Lucas has

knowingly, intentionally, and materially breached the Terms and EULA by engaging in several

explicitly prohibited activities set out in the Terms and the EULA. (D.E. 2 at ¶ 158.)

       Since on a Rule 12(b)(6) motion, the facts are to be construed in the light most favorable

to Epic and the Complaint provides facts that go to both elements of Epic’s claim of breach of

contract, Epic’s allegations are, at minimum, plausible. Accordingly, Lucas’ Motion should be

denied. See Fung Lin Wah Enterprises Ltd. v. E. Bay Imp. Co., 465 F. Supp. 2d 536, 542–43

(D.S.C. 2006) (denying the motion to dismiss because plaintiff pleaded the elements of a breach

of contract claim). Patrick Collins, Inc. v. Does 1-22, No. 11-CV-01772-AW, 2011 WL

5439005, at *2 (D. Md. Nov. 8, 2011) (internal citations and quotations omitted).

                                                14
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 14 of 21
                 4.     Epic’s Claim for Intentional Interference with Contractual Relations
                        States a Claim for Relief.

          The essential elements of a claim for intentional interference with contractual relations

are:

                 (1) a valid contract between the plaintiff and a third person which confers
                 upon the plaintiff a contractual right against a third person;
                 (2) the Lucas knows of the contract;
                 (3) the Lucas, without justification, intentionally induces the third person
                 not to perform the contract;
                 (4) resulting in actual damage to the plaintiff.

Red Arrow v. Pine Lake Preparatory, Inc. Bd. of Directors, 226 N.C. App. 431, 741 S.E.2d 511

(2013).

          Epic’s Complaint alleges that valid and enforceable contracts exist between Epic and

users of its services, including Lucas. (See also D.E. 2 at ¶¶ 160-167.) Epic further alleged that

Lucas knew of the terms of those agreements and knew that other users of Epic’s services are

required to agree to abide by the Terms and the EULA because Lucas entered into exactly the

same contracts multiple times. (Id. at ¶ 168-169.) The Terms and the EULA explicitly list

activities that users of Epic’s services are prohibited from engaging in. Epic alleged that Lucas’

intentional, active, and willful encouragement and inducement of Fortnite players to use the

cheats constitutes intentional interference with contracts formed between Epic and those players,

that Lucas acted without justification, and that Lucas’ actions resulted in actual damage to Epic.

(Id. at ¶¶ 169-174.)

          Since the facts are to be construed in the light most favorable to Epic, and the Complaint

provides facts supporting all the elements of Epic’s claim for intentional interference with

contractual relations, Epic’s allegations are, at minimum, plausible. Accordingly, Lucas’ Motion

should be denied. See Anderson v. Dobson, No. 1:06CV2, 2006 WL 1431667, at *9 (W.D.N.C.

May 22, 2006) (denying defendant’s motion to dismiss because plaintiff pleaded the elements of

                                                 15
PPAB 4572541v6
           Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 15 of 21
an intentional interference with contractual relations claim); Patrick Collins, Inc. v. Does 1-22,

No. 11-CV-01772-AW, 2011 WL 5439005, at *2 (D. Md. Nov. 8, 2011) (internal citations and

quotations omitted).

                 5.    Epic’s Claim for Violation of Unfair and Deceptive Trade Practices
                       Under North Carolina Law States a Claim for Relief.

       The essential elements of a claim for unfair and deceptive trade practices under North

Carolina General Statutes § 75–1.1 require the plaintiff to show that the defendant committed an

unfair or deceptive act that affected commerce and that proximately injured the plaintiff.

Pleasant Valley Promenade v. Lechmere, Inc., 120 N.C.App. 650, 464 S.E.2d 47 (1995).

       Epic’s Complaint alleges these elements in that it alleges that Lucas’ intentional,

continued interference with contracts as discussed above, along with his other unfair methods of

competition, are unfair or deceptive acts that affect United States and North Carolina commerce.

(D.E. 2 at ¶¶ 175-181.) Epic also alleges that Lucas’ actions were the direct and proximate cause

of harm to Epic. (D.E. 2 at ¶¶ 182-184.)

       Since the facts are to be construed in the light most favorable to Epic and the Complaint

provides facts supporting all the elements of Epic’s claim for intentional interference with

contractual relations, Epic’s allegations are, at minimum, plausible. Accordingly, Lucas’ Motion

should be denied. Patrick Collins, Inc. v. Does 1-22, No. 11-CV-01772-AW, 2011 WL 5439005,

at *2 (D. Md. Nov. 8, 2011) (internal citations and quotations omitted).

       E.        If the Court Construes Lucas’ Motion as a Rule 12(b)(6) Motion, the Court
                 Should Decline To Convert Lucas’ Motion Into a Motion Under Rule 56
                 Because Lucas’ Affidavit Should be Excluded by the Court as Inadmissible
                 Since It Is Unsworn and Does Not Comply with Fed. R. Civ. P. 56(e) or 28
                 U.S.C. § 1746.

       Rule 12(d) provides that if, “on a motion under Rule 12(b)(6) . . . , matters outside the

pleadings are presented to and not excluded by the court, the motion must be treated as one for


                                                16
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 16 of 21
summary judgment under Rule 56.” Id. Lucas’ affidavit is not sworn, and its contents are not

verified to be true and correct or made under penalty of perjury. (See Lucas Aff. [D.E. 31-1].)

“Unsworn pleadings do not satisfy Rule 56(e)’s requirements for summary judgment proof.”

Metropolitan Life Ins. Co. v. Hall, 9 F.Supp.2d 560, 561 (D.Md. 1998). 28 U.S.C. § 1746

provides a statutory exception to this rule for unsworn declarations made “under penalty of

perjury” and verified as “true and correct” in compliance with the statute. See id. Lucas’ affidavit

is not in substantial conformity with either of these rules because, as drafted, it allows Lucas to

circumvent the penalties for perjury in signing onto intentional falsehoods. See Nissho-Iwai Am.

Corp. v. Kline, 845 F.2d 1300, 1305–07 (5th Cir. 1988). The mere fact that the affidavit was

notarized does not transform it into an affidavit that may be used for summary judgment

purposes. See Watson v. Spilman, No. 3:13CV746, 2014 WL 3867550, at *2 (E.D. Va. Aug. 5,

2014) (citing Nissholwai Am. Corp., 845 F.2d at 1306–07). Lucas’ affidavit should be excluded

because it is not admissible for summary judgment purposes. Id. (finding submissions failed to

constitute admissible summary judgment evidence where the contents were neither sworn nor

made under penalty of perjury) (citing United States v. White, 366 F.3d 291, 300 (4th Cir.2004)).

Consequently, if the Court construes Lucas’ Motion as being made under Rule 12(b)(6) and,

pursuant to Rule 12(d), converts the motion to one for summary judgment under Rule 56, it

should exclude the affidavit as inadmissible evidence and deny Lucas’ Motion.

       F.        If the Court Construes Lucas' Motion as a Rule 12(b)(6) Motion, the Court
                 Should Decline to Convert the Motion Into a Rule 56 Motion, or Deny a Rule
                 56 Motion As Premature.

       Alternatively, if the Court decides not to exclude Lucas’ unsworn affidavit, the Court

should decline to consider it at this stage because it is too early in this case for a summary

judgment motion. The affidavit is outside the pleadings. As stated, in order to consider the

affidavit in the context of a Rule 12(b)(6) motion, the Court would have to convert the motion to

                                                17
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 17 of 21
dismiss into a motion for summary judgment, and “such conversion is not appropriate where the

parties have not had an opportunity for reasonable discovery.” Johnson v. Mabus, No. CV 2:16-

2073-RMG, 2017 WL 3037373, at *3 (D.S.C. July 18, 2017) (citing Nader v. Blair, 549 F.3d

953, 961 (4th Cir. 2008)). “[S]ummary judgment should not be granted where, as here, the

nonmoving party has not had the opportunity to discover information that is essential to his

opposition to the motion.” 5050 Tuxedo, LLC v. Neal, No. GJH-16-1849, 2017 WL 935877, at

*3 (D. Md. Mar. 8, 2017) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 n.5.

(1987)).

       Epic has not had the opportunity to engage in any discovery at all on any topics,

including those relevant to an opposition to a motion for summary judgment. (See Thomas Aff.

at ¶¶ 1-6.) Indeed, the scheduling conference has not yet occurred. The issues have not yet

joined. Epic has not had the opportunity to request documents, submit interrogatories, or cross

examine witnesses. (Id.) Accordingly, the Court should decline to consider the affidavit or deny

the motion for summary judgment as premature. See Johnson v. Mabus, No. CV 2:16-2073-

RMG-KFM, 2017 WL 9250334, at *5 (D.S.C. June 1, 2017), report and recommendation

adopted, No. CV 2:16-2073-RMG, 2017 WL 3037373 (D.S.C. July 18, 2017) (finding a Rule

12(b)(6) motion to dismiss may not be converted to a summary judgment motion if the

nonmoving party has not had a reasonable opportunity for discovery, which was the case where a

scheduling order had not yet been entered and the plaintiff has not had the opportunity to engage

in any discovery.)

       Because motions for summary judgment rely on additional, outside evidence—as

opposed motions to dismiss, which are decided solely on the pleadings—sufficient notice of the

conversion is critical in order to “ensure[ ] that the opposing parties will bring genuine issues of

material fact to the trial court’s attention by affording the nonmoving party an opportunity to

                                                18
PPAB 4572541v6
           Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 18 of 21
marshal its resources and rebut the motion for summary judgment with every factual and legal

argument available.” Staten v. Tekelec, No. 5:09-CV-434-FL, 2010 WL 3835127, at *3

(E.D.N.C. Aug. 10, 2010), report and recommendation adopted, No. 5:09-CV-434-FL, 2010 WL

3835124 (E.D.N.C. Sept. 28, 2010).

       Thus, “[b]efore a court may properly convert a motion to dismiss to a motion for

summary judgment, . . . the court must provide all parties reasonable notice and the opportunity

to present any additional matter pertinent by the conversion.” Staten v. Tekelec, No. 5:09-CV-

434-FL, 2010 WL 3835127, at *3 (E.D.N.C. Aug. 10, 2010), report and recommendation

adopted, No. 5:09-CV-434-FL, 2010 WL 3835124 (E.D.N.C. Sept. 28, 2010). “Reasonable

opportunity” requires that the court give some indication to the parties that it treating the motion

to dismiss as a motion for summary judgment “with the consequent right in the opposing party to

file counter affidavits or pursue reasonable discovery.” Johnson v. RAC Corp., 491 F.2d 510, 513

(4th Cir. 1974).

       Should the nonmoving party feel that a motion for summary judgment is premature, it

can invoke Fed. R. Civ. P. 56(d), which provides that a court may defer, deny, allow time to

obtain additional evidence, or issue any other appropriate order “[i]f a nonmovant shows by

affidavit or declaration, that for specified reasons, it cannot present facts essential to justify its

opposition.” 5050 Tuxedo, LLC v. Neal, No. GJH-16-1849, 2017 WL 935877, at *3 (D. Md.

Mar. 8, 2017) (citing Fed. R. Civ. P. 56(d)).

       Accordingly, counsel for Epic has submitted an affidavit contemporaneously with the

filing of this brief, invoking Fed. R. Civ. P. 56(d) in the event that the Court converts Lucas’

Motion to dismiss into one of summary judgment. The affidavit states that Epic has not had the

opportunity to discovery any information that it could use in opposition to a motion for summary

judgment, (see Thomas Aff. at ¶¶ 6-9), and is applicable only if the Court construes Lucas’

                                                 19
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 19 of 21
Motion as a motion for summary judgment.

III.    CONCLUSION

        For all of the foregoing reasons, Epic respectfully requests that this Court deny Lucas’

Motion to Dismiss and order Lucas to answer Epic’s Complaint within a reasonable amount of

time.



                                            /s/Christopher M. Thomas
                                            N.C. Bar No. 31834
                                            christhomas@parkerpoe.com
                                            Tasneem A. Dharamsi
                                            N.C. Bar No. 47697
                                            tasneemdelphry@parkerpoe.com
                                            301 Fayetteville Street, Suite 1400 (27601)
                                            P.O. Box 389
                                            Raleigh, North Carolina 27602-0389
                                            Telephone: (919) 828-0564
                                            Facsimile: (919) 834-4564
                                            Attorneys for Plaintiff




                                               20
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 20 of 21
                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing PLAINTIFF’S RESPONSE TO

DEFENDANT LUCAS’ MOTION TO DISMISS THE COMPLAINT was electronically

filed on this day with the Clerk of Court using the CM/ECF system and a true and accurate copy

was sent by US Mail addressed to the following:

                 Brandon Lucas
                 11211 South Military Trail
                 Apt. #5021
                 Boynton Beach, FL 33436
                 juniorolympicgold@gmail.com
                 Defendant, pro se

                 Justin Eldreth
                 Klish & Eldreth PLLC
                 115 S Saint Marys St Ste C
                 Raleigh, NC 27603
                 Email: justin@klisheldreth.com
                 Attorney for Defendant Colton Conter

       This 3rd day of December, 2018.

                                             PARKER POE ADAMS & BERNSTEIN LLP


                                             /s/Christopher M. Thomas
                                             Christopher M. Thomas
                                             N.C. Bar No. 31834
                                             christhomas@parkerpoe.com
                                             Tasneem A. Dharamsi
                                             N.C. Bar No. 47697
                                             tasneemdelphry@parkerpoe.com
                                             301 Fayetteville Street, Suite 1400 (27601)
                                             P.O. Box 389
                                             Raleigh, North Carolina 27602-0389
                                             Telephone: (919) 828-0564
                                             Facsimile: (919) 834-4564
                                             Attorneys for Plaintiff




                                               21
PPAB 4572541v6
         Case 5:18-cv-00484-BO Document 14 Filed 12/03/18 Page 21 of 21
